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       EXHIBIT 6
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Title 3-                       Executive Order 14230 of March 6, 2025

The President                  Addressing Risks From Perkins Coie LLP

                               By the authority vested in me as President by the Constitution and the
                               laws of the United States of America, it is hereby ordered:
                               Section 1. Purpose. The dishonest and dangerous activity of the law firm
                               Perkins Coie LLP ("Perkins Coie") has affected this country for decades.
                               Notably, in 2016 while representing failed Presidential candidate Hillary
                               Clinton, Perkins Coie hired Fusion GPS, which then manufactured a false
                               "dossier" designed to steal an election. This egregious activity is part of
                               a pattern. Perkins Coie has worked with activist donors including George
                               Soros to judicially overturn popular, necessary, and democratically enacted
                               election laws, including those requiring voter identification. In one such
                               case, a court was forced to sanction Perkins Coie attorneys for an unethical
                               lack of candor before the court.
                               In addition to undermining democratic elections, the integrity of our courts,
                               and honest law enforcement, Perkins Coie racially discriminates against
                               its own attorneys and staff, and against applicants. Perkins Coie publicly
                               announced percentage quotas in 2019 for hiring and promotion on the
                               basis of race and other categories prohibited by civil rights laws. It proudly
                               excluded applicants on the basis of race for its fellowships, and it maintained
                               these discriminatory practices until applicants harmed by them finally sued
                               to enforce change.
                               My Administration is committed to ending discrimination under "diversity,
                               equity, and inclusion" policies and ensuring that Federal benefits support
                               the laws and policies of the United States, including those laws and policies
                               promoting our national security and respecting the democratic process. Those
                               who engage in blatant race-based and sex-based discrimination, including
                               quotas, but purposefully hide the nature of such discrimination through
                               deceiving language, have engaged in a serious violation of the public trust.
                               Their disrespect for the bedrock principle of equality represents good cause
                               to conclude that they neither have access to our Nation's secrets nor be
                               deemed responsible stewards of any Federal funds.
                               Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
                               of National Intelligence, and all other relevant heads of executive departments
                               and agencies (agencies) shall immediately take steps consistent with applica­
                               ble law to suspend any active security clearances held by individuals at
                               Perkins Coie, pending a review of whether such clearances are consistent
                               with the national interest.
                                  (b) The Office of Management and Budget shall identify all Government
                               goods, property, material, and services, including Sensitive Compartmented
                               Information Facilities, provided for the benefit of Perkins Coie. The heads
                               of all agencies providing such material or services shall, to the extent per­
                               mitted by law, expeditiously cease such provision.
                               Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
                               contractors whose earnings subsidize, among other things, racial discrimina­
                               tion, falsified documents designed to weaponize the Government against
                               candidates for office, and anti-democratic election changes that invite fraud
                               and distrust, Government contracting agencies shall, to the extent permissible
                               by law, require Government contractors to disclose any business they do
                               with Perkins Coie and whether that business is related to the subject of
                               the Government contract.
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                                (b) The heads of all agencies shall review all contracts with Perkins
                             Coie or with entities that disclose doing business with Perkins Coie under
                             subsection (a) of this section. To the extent permitted by law, the heads
                             of agencies shall:
                               (i) take appropriate steps to terminate any contract, to the maximum
                               extent permitted by applicable law, including the Federal Acquisition
                               Regulation, for which Perkins Coie has been hired to perform any service;
                                (ii) otherwise align their agency funding decisions with the interests of
                                the citizens of the United States; with the goals and priorities of my
                                Administration as expressed in executive actions, especially Executive
                                Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                Government); and as heads of agencies deem appropriate. Within 30 days
                                of the date of this order, all agencies shall submit to the Director of
                                the Office of Management and Budget an assessment of contracts with
                                Perkins Coie or with entities that do business with Perkins Coie effective
                                as of the date of this order and any actions taken with respect to those
                                contracts in accordance with this order.
                             Sec. 4. Racial Discrimination. (a) The Chair of the Equal Employment Oppor­
                             tunity Commission shall review the practices of representative large, influen­
                             tial, or industry leading law firms for consistency with Title VII of the
                             Civil Rights Act of 1964, including whether large law firms: reserve certain
                             positions, such as summer associate spots, for individuals of preferred races;
                             promote individuals on a discriminatory basis; permit client access on a
                             discriminatory basis; or provide access to events, trainings, or travel on
                             a discriminatory basis.
                                (b) The Attorney General, in coordination with the Chair of the Equal
                             Employment Opportunity Commission and in consultation with State Attor­
                             neys General as appropriate, shall investigate the practices of large law
                             firms as described in subsection (a) of this section who do business with
                             Federal entities for compliance with race-based and sex-based non-discrimi­
                             nation laws and take any additional actions the Attorney General deems
                             appropriate in light of the evidence uncovered.
                             Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted
                             by law, provide guidance limiting official access from Federal Government
                             buildings to employees of Perkins Coie when such access would threaten
                             the national security of or otherwise be inconsistent with the interests of
                             the United States. In addition, the heads of all agencies shall provide guidance
                             limiting Government employees acting in their official capacity from engaging
                             with Perkins Coie employees to ensure consistency with the national security
                             and other interests of the United States.
                                (b) Agency officials shall, to the extent permitted by law, refrain from
                             hiring employees of Perkins Coie, absent a waiver from the head of the
                             agency, made in consultation with the Director of the Office of Personnel
                             Management, that such hire will not threaten the national security of the
                             United States.
                             Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                             to impair or otherwise affect:
                                (i) the authority granted by law to an executive department or agency,
                                or the head thereof; or
                               (ii) the functions of the Director of the Office of Management and Budget
                               relating to budgetary, administrative, or legislative proposals.
                               (b) This order shall be implemented consistent with applicable law and
                             subject to the availability of appropriations.
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                                        (c) This order is not intended to, and does not, create any right or benefit,
                                      substantive or procedural, enforceable at law or in equity by any party
                                      against the United States, its departments, agencies, or entities, its officers,
                                      employees, or agents, or any other person.




                                      THE WHITE HOUSE,
                                      March 6, 2025.


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